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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE SOUTHERN DISTRICT OF FLORIDA


     FRED DEVRIES, RUBY TEICH, JANINE
     NATOLI, STEFAN MICHAEL BENARSKY,
     MARK MALTER, ADAM SCHWARTZ,
     individually and on behalf all others similarly Case No. 9:12-cv-81223-KAM
     situated,

                                 Plaintiffs,

            v.

     MORGAN STANLEY & CO. LLC,
     f/k/a Morgan Stanley & Co. Incorporated,
     MORGAN STANLEY SMITH BARNEY LLC,
     and MORGAN STANLEY,

                                 Defendants.


                            SECOND AMENDED COMPLAINT

         Plaintiffs Fred Devries, Ruby Teich, Janine Natoli, Stefan Michael Benarsky,

   Mark Malter, and Adam Schwartz, (“Plaintiffs”), individually and on behalf of all

   others similarly situated, file this Second Amended Complaint and Jury Demand

   against Defendants Morgan Stanley & Co. LLC, Morgan Stanley Smith Barney LLC and

   Morgan Stanley (“Morgan Stanley” or Defendants) seeking all relief available under the

   Fair Labor Standards Act of 1938, as amended, 29 U.S.C. § 201 et seq. (“FLSA”) on behalf

   of Plaintiffs and all current and former pre-production Financial Advisor Associates

   (“FAAs”) have opted into this action (the “Collective Action Members”); under the New

   Jersey State Wage and Hour Law, N.J.S.A. 34:11-56a through 34:11-56a30 (the “N.J.

   Wage and Hour Law”) on behalf of all current and former FAAs who work and/or
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   worked for Morgan Stanley in New Jersey; under the Pennsylvania Minimum Wage

   Act, 43 P.S. §§ 333, et seq. (the “Penn. Wage and Hour Law”) on behalf of all current and

   former FAAs who work and/or worked for Morgan Stanley in Pennsylvania; under the

   Illinois Minimum Wage Law, 820 ILCS 105/1 et seq. and the Illinois Wage Payment and

   Collection Act, 820 ILCS 115/1 et seq. (the “Ill. Wage and Hour Law”) on behalf of all

   current and former FAAs who work and/or worked for Morgan Stanley in Illinois; and

   under the New York Labor Law, Article 19, §§ 650 et seq. and supporting New York

   State Department of Labor Regulations (the “NYLL”) on behalf of all current and

   former FAAs who work and/or worked for Morgan Stanley in New York. The

   following allegations are based on personal knowledge as to Plaintiffs’ own conduct

   and are made on information and belief as to the acts of others.

                                 NATURE OF THE ACTION

         1.     Morgan Stanley is a financial services company that provides brokerage

   and related products and services to millions of investors nationwide.

         2.     Morgan Stanley employs FAAs at branch locations nationwide.

         3.     Morgan Stanley classifies its FAAs as non-exempt during an

   approximately five to six month training or “pre-production” period.




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          4.     During the pre-production training period, while they are classified as

   non-exempt, FAAs’ duties include the completion of the required FAA Training

   Program course work, studying for and passing the Series 7 exam, studying for and

   passing the Series 66 exam, studying for and passing the FAA Pre-Production

   Assessment exams, attending meetings, completing all FAA Training Program

   curriculum requirements and attending national performance sessions.

          5.     Pursuant to a company-wide policy and practice, Morgan Stanley

   uniformly failed to accurately track or record actual hours worked by FAAs during the

   pre-production training period. Morgan Stanley furthered this wrongful policy by: (i)

   instructing its FAAs not to track all hours they worked but instead, to record only their

   scheduled hours; (ii) instructing its FAAs not to record overtime hours worked; (iii)

   failing to provide its FAAs with a method to accurately record the hours they actually

   worked; and (iv) requiring FAAs to understate the number of hours they actually

   worked. In willful disregard of federal and state wage and hour law, Morgan Stanley

   failed and refused to pay Plaintiffs and all other similarly situated FAAs for all hours

   worked, as well as overtime premium pay.

          6.     Morgan Stanley’s systematic failure and refusal to pay Plaintiffs and all

   other similarly situated FAAs for all hours over 40 in a workweek violates the FLSA, the

   N.J. Wage and Hour Law, the Penn. Wage and Hour Law, the Ill. Wage and Hour Law,

   and the NYLL.

          7.     All Plaintiffs allege on behalf of themselves the Collective Action

   Members that they are: (i) entitled to unpaid wages for hours worked above 40 in a


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   workweek, as required by law, and (ii) entitled to liquidated damages pursuant to the

   FLSA, 29 U.S.C. §§ 201 et seq.

          8.     Plaintiff Janine Natoli also brings this action, pursuant to Fed. R. Civ. P.

   23, on behalf of all persons who are and were employed by Morgan Stanley in New

   Jersey, as FAAs and similarly situated current and former employees holding

   comparable positions but different titles (“New Jersey Class”) at any time since August

   1, 2012 through the date of the final disposition of this action (the “New Jersey Class

   Period”) who were not paid for all hours worked by them, as well as for overtime work

   for which they did not receive overtime premium pay, as required by the NJ Wage and

   Hour Law.

          9.     Plaintiff Stefan Michael Bernarsky also brings this action, pursuant to Fed.

   R. Civ. P. 23, on behalf of all persons who are and were employed by Morgan Stanley in

   Pennsylvania, as FAAs and similarly situated current and former employees holding

   comparable positions but different titles (“Pennsylvania Class”) at any time at any time

   since August 1, 2011 through the date of the final disposition of this action (the

   “Pennsylvania Class Period”) who were not paid for all hours worked by them, as well

   as for overtime work for which they did not receive overtime premium pay, as required

   by the Penn. Wage and Hour Law.

          10.    Plaintiff Mark Malter also brings this action, pursuant to Fed. R. Civ. P. 23,

   on behalf of all persons who are and were employed by Morgan Stanley in Illinois, as

   FAAs and similarly situated current and former employees holding comparable

   positions but different titles (“Illinois Class”) at any time at any time since August 1,


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   2011 through the date of the final disposition of this action (the “Illinois Class Period”)

   who were not paid for all hours worked by them, as well as for overtime work for

   which they did not receive overtime premium pay, as required by the Ill. Wage and

   Hour Law.

          11.    Plaintiff Adam Schwartz also brings this action, pursuant to Fed. R. Civ. P.

   23, on behalf of all persons who are and were employed by Morgan Stanley in New

   York, as FAAs and similarly situated current and former employees holding

   comparable positions but different titles (“New York Class”) at any time since August 1,

   2008, through the date of the final disposition of this action (the “New York Class

   Period”) who (i) were not paid for all hours worked by them as well as unpaid overtime

   wages for hours worked above 40 in a workweek, as required by the NYLL; and (ii)

   Defendant’s willful failure to comply with the notice and record keeping requirements

   of NYLL §195(1) and 195(3) resulting in penalties under NYLL § 198(1)b and 198(1)d up

   to the amount of $5,000.00 collectively.


                                         THE PARTIES

   THE PLAINTIFFS

          12.    Plaintiff Fred Devries (“Mr. Devries”) was employed by Morgan Stanley

   as an FAA from in or about June 2011 to May 2012 at Morgan Stanley’s branch location

   in Boca Raton, Florida.




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         13.    Mr. Devries regularly worked more than 40 hours in a workweek for

   Morgan Stanley’s benefit during the pre-production training period. Pursuant to

   Morgan Stanley’s policy, pattern or practice, Mr. Devries was not paid proper

   compensation for all hours worked including overtime compensation for all hours

   worked over 40.

         14.    Mr. Devries’ written consent to join this action was filed in this case on

   August 8, 2012.

         15.    Plaintiff Ruby Teich (“Ms. Teich”) was employed by Morgan Stanley as

   an FAA from in or about August 2011 to July 2012 at Morgan Stanley’s branch location

   in Boca Raton, Florida.

         16.    Ms. Teich regularly worked more than 40 hours in a workweek for

   Morgan Stanley’s benefit during the pre-production training period. Pursuant to

   Morgan Stanley’s policy, pattern or practice, Ms. Teich was not paid proper

   compensation for all hours worked including overtime compensation for all hours

   worked over 40.

         17.    Ms. Teich’s written consent to join this action was filed in this case on

   August 16, 2012.

         18.    Plaintiff Janine Natoli (“Ms. Natoli or the “New Jersey Class

   Representative”) was employed by Morgan Stanley as an FAA from in or about January

   2014 to March 2014 at Morgan Stanley’s branch location in Paramus, NJ.




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          19.      Ms. Natoli regularly worked more than 40 hours in a workweek for

   Morgan Stanley’s benefit during the pre-production training period. Pursuant to

   Morgan Stanley’s policy, pattern or practice, Ms. Natoli was not paid proper

   compensation for all hours worked including overtime compensation for all hours

   worked over 40.

          20.      Ms. Natoli’s written consent to join this action was filed in this case on

   June 2, 2014.

          21.      Plaintiff Stefan Michael Bernarsky (“Mr. Bernarsky” or the “Pennsylvania

   Class Representative”) was employed by Morgan Stanley as an FAA from in or about

   October 2011 to January 2013 at Morgan Stanley’s branch location in Scranton, PA.

          22.      Mr. Bernarsky regularly worked more than 40 hours in a workweek for

   Morgan Stanley’s benefit during the pre-production training period. Pursuant to

   Morgan Stanley’s policy, pattern or practice, Mr. Bernarsky was not paid proper

   compensation for all hours worked including overtime compensation for all hours

   worked over 40.

          23.      Mr. Bernarsky’s written consent to join this action was filed in this case on

   May 5, 2014.

          24.      Plaintiff Mark Malter (“Mr. Malter” or the “Illinois Class Representative”)

   was employed by Morgan Stanley as an FAA from in or about February 2012 to

   November 2013 at Morgan Stanley’s branch location in Riverwoods, IL.




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          25.    Mr. Malter regularly worked more than 40 hours in a workweek for

   Morgan Stanley’s benefit during the pre-production training period. Pursuant to

   Morgan Stanley’s policy, pattern or practice, Mr. Malter was not paid proper

   compensation for all hours worked including overtime compensation for all hours

   worked over 40.

          26.    Mr. Malter’s written consent to join this action was filed in this case on

   April 10, 2014.

          27.    Plaintiff Adam Schwartz (“Mr. Schwartz” or the “New York Class

   Representative”) was employed by Morgan Stanley as an FAA from in or about

   November 2012 to March 2013 at Morgan Stanley’s branch location in Garden City, NY.

          28.    Mr. Schwartz regularly worked more than 40 hours in a workweek for

   Morgan Stanley’s benefit during the pre-production training period. Pursuant to

   Morgan Stanley’s policy, pattern or practice, Mr. Schwartz was not paid proper

   compensation for all hours worked including overtime compensation for all hours

   worked over 40.

          29.    Mr. Schwartz’s written consent to join this action was filed in this case on

   April 10, 2014.

   THE DEFENDANTS

          30.    Morgan Stanley & Co. LLC, f/k/a Morgan Stanley & Co. Incorporated, is

   a Delaware limited liability company with its principal place of business in New York,

   New York. It is a wholly owned subsidiary of Defendant Morgan Stanley.




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          31.    Morgan Stanley Smith Barney LLC is a Delaware limited liability

   company with its principal place of business in New York, New York. It is a partially

   owned subsidiary of Defendant Morgan Stanley.

          32.    Morgan Stanley is a Delaware bank holding company, registered with the

   New York Stock Exchange, among other regulatory agencies and authorities. Morgan

   Stanley has its principal place of business in New York, New York.

          33.    Morgan Stanley is a parent company of Defendants Morgan Stanley & Co.

   LLC and Morgan Stanley Smith Barney LLC.

          34.    Each Defendant does business under the trade name or mark of “Morgan

   Stanley.”

          35.    Each Defendant is a financial services company that provides brokerage

   and related products and services to millions of investors nationwide.

          36.    Each Defendant employed or acted in the interest of an employer towards

   Plaintiffs and other similarly situated current and former FAAs and, directly or

   indirectly, jointly or severally, including, without limitation, directly or indirectly

   controlling and directing the terms of employment and compensation of Plaintiffs and

   other similarly situated current and former FAAs. Upon information and belief, the

   Defendants operate in concert and together in a common enterprise and through related

   activities, as here relevant, so that the actions of one may be imputed to the other

   and/or so that they operate as joint employers within the meaning of the FLSA, N.J.

   Wage and Hour Law, the Penn. Wage and Hour Law, the Ill. Wage and Hour Law, and

   the NYLL.


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          37.    Each Defendant had the power to control the terms and conditions of

   employment of Plaintiffs and other similarly situated current and former FAAs

   including, without limitation, those terms and conditions relating to the claims alleged

   herein.

          38.    Defendants jointly employed Plaintiffs and other similarly situated

   current and former FAAs.

                               JURISDICTION AND VENUE

          39.    This Court has subject matter jurisdiction pursuant to 28 U.S.C. §§ 1331,

   1332, 1337, and the Class Action Fairness Act.

          40.    In addition, the Court has jurisdiction over Plaintiffs’ claims under the

   FLSA pursuant to 29 U.S.C. § 216(b).

          41.    The amount in controversy in this matter exceeds the sum or value of

   $5,000,000.00, exclusive of interest and costs.

          42.    At least one member of the proposed classes is a citizen of a state different

   from that of at least one Defendant.

          43.    Plaintiffs’ claims involve matters of national or interstate interest.

          44.    Upon information and belief, greater than two-thirds of the members of

   all proposed classes in the aggregate are not citizens of the same state.

          45.    This Court is empowered to issue a declaratory judgment pursuant to 28

   U.S.C. §§ 2201 and 2202.

          46.    Each Defendant is subject to personal jurisdiction in Florida.




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           47.   Venue is proper in the Southern District of Florida pursuant to 28 U.S.C. §

   1391(b) since a substantial part of the events or omissions giving rise to the claims in

   this complaint occurred within this District.

           48.   Each Defendant is a covered employer within the meaning of the FLSA,

   and has had gross revenues exceeding $500,000.00 for all relevant time periods.

                    COLLECTIVE ACTION FACTUAL ALLEGATIONS

           49.   On February 7, 2014, this Court conditionally certified this action under

   the FLSA, and since then, 454 current or former Morgan Stanley FAAs have filed

   consents to join this action become Collective Action Members, along with Plaintiffs and

   other FAAs who filed their consents to join prior to conditional certification.

           50.   Plaintiffs and the Collective Action Members, all of whom regularly

   worked more than 40 hours in a workweek, were employed by Morgan Stanley as

   FAAs.

           51.   Morgan Stanley failed to pay Plaintiffs and the Collective Action

   Members overtime compensation for the hours they worked over 40 in a workweek.

           52.   Morgan Stanley failed to keep accurate records of all hours worked by

   Plaintiffs and the Collective Action Members.

           53.   Throughout the relevant periods, it has been Morgan Stanley’s policy,

   pattern or practice to require, suffer, or permit the Plaintiffs and the Collective Action

   Members to work in excess of 40 hours per week without paying them overtime wages

   for all overtime hours worked.




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          54.     Morgan Stanley assigned the work that the Plaintiffs and the Collective

   Action Members have performed or Morgan Stanley was aware of the work they

   performed.

          55.     The work performed by the Plaintiffs and the Collective Action Members

   constitutes compensable work time under the FLSA and was not preliminary,

   postliminary or de minimus.

          56.     The Plaintiffs and the Collective Action Members performed the same

   primary job duties, which are non-exempt and they were classified as non-exempt

   under the FLSA.

          57.     Morgan Stanley has intentionally, willfully, and regularly engaged in a

   company-wide policy, pattern, or practice of violating the FLSA with respect to the

   Plaintiffs and the Collective Action Members, which policy, pattern or practice was

   authorized, established, promulgated, and/or ratified by Defendants’ corporate

   headquarters. This policy, pattern or practice includes but is not limited to:

                  a.    willfully failing to record all of the time the Plaintiffs and the

          Collective Action Members have worked for the benefit of Morgan Stanley;

                  b.    willfully failing to keep accurate time records as required by the

          FLSA;

                  c.    willfully failing to credit the Plaintiffs and the Collective Action

          Members for all hours worked including overtime hours, consistent with the

          requirements of the FLSA; and




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                 d.    willfully failing to pay the Plaintiffs and the Collective Action

          Members wages for all hours worked including overtime wages for hours in

          excess of 40 hours per workweek.

          58.    Morgan Stanley is aware or should have been aware that the FLSA

   requires them to pay the Plaintiffs and the Collective Action Members an overtime

   premium for hours worked in excess of 40 hours per workweek.

          59.    Morgan Stanley’s unlawful conduct has been widespread, repeated, and

   consistent.

                              CLASS ACTION ALLEGATIONS

   THE NEW JERSEY CLASS

          60.    Pursuant to Fed. R. Civ. P. 23, Ms. Natoli, as the New Jersey Class

   Representative, brings her N.J. Wage and Hour Law claims, individually and on behalf

   of the New Jersey Class.

          61.    The persons in the New Jersey Class identified above are so numerous

   that joinder of all members is impracticable. Although the New Jersey Class

   Representative does not know the precise number of such persons, the facts on which

   the calculation of that number can be based are presently within the sole control of the

   Defendants and ascertainable. Upon information and belief, there are at least 100

   members of the New Jersey Class.

          62.    Defendants have acted or refused to act on grounds generally applicable

   to the New Jersey Class, thereby making appropriate final injunctive relief or

   corresponding declaratory relief with respect to the New Jersey Class as a whole.


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          63.    There are questions of law and fact common to the New Jersey Class that

   predominate over any questions solely affecting individual members of the New Jersey

   Class, including but not limited to:

                 a.     whether Defendants have failed and/or refused to pay the New

                 Jersey Class Representative and the New Jersey Class overtime pay for the

                 hours worked in excess of 40 hours per workweek within the meaning of

                 the N.J. Wage and Hour Law;

                 b.     the nature and extent of the class-wide injury and the appropriate

                 measure of damages for the New Jersey Class;

                 c.     whether Defendants had a uniform policy and practice of failing to

                 accurately track or record actual hours worked by the members of the

                 New Jersey Class;

                 d.     whether Defendants furthered their uniform policy and practice of

                 failing to accurately track or record actual hours worked by the members

                 of the New Jersey Class by instructing them: (i) not to track all hours they

                 worked but instead to record only their scheduled hours; (ii) not to record

                 overtime hours worked; (iii) failing to provide the members of the New

                 Jersey Class with a method to accurately record the hours they actually

                 worked; and (iv) requiring the New Jersey Class members to under-state

                 the number of hours they actually worked;




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                f.     whether Defendants’ policy and practice of failing to accurately

                track or record hours worked by the members of the New Jersey Class

                was willful;

                g.     whether Defendants can prove that their unlawful policies were

                implemented in good faith.

         64.    The claims of the New Jersey Class Representative are typical of the

   claims of the New Jersey Class she seeks to represent. The New Jersey Class

   Representative and the other New Jersey Class members work or have worked for

   Defendants and have been subjected to their policy, pattern or practice of failing to pay

   overtime wages for hours worked in excess of 40 hours per week. Defendants acted

   and refused to act on grounds generally applicable to the New Jersey Class, thereby

   making declaratory relief with respect to the New Jersey Class appropriate.

         65.    The New Jersey Class Representative will fairly and adequately represent

   and protect the interests of the New Jersey Class.

         66.    The New Jersey Class Representative has retained counsel competent and

   experienced in complex class action and wage and hour litigation.

         67.    A class action is superior to other available methods for the fair and

   efficient adjudication of the N.J. Wage and Hour Law claims, where individual

   plaintiffs may lack the financial resources to vigorously prosecute a lawsuit in federal

   court against a corporate defendant.

         68.    The members of the New Jersey Class have been damaged and are

   entitled to recovery because of Defendants’ common and uniform policies, practices


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   and procedures. Although the relative damages suffered by individual New Jersey

   Class members are not de minimus, such damages are small compared to the expense

   and burden of bringing individual cases.

         69.    Class treatment of the New Jersey class claims is superior because it will

   obviate the need for duplicative litigation that may result in inconsistent judgments

   about Defendants’ practices.

   THE PENNSYLVANIA CLASS

         70.    Pursuant to Fed. R. Civ. P. 23, Mr. Bernarsky, as the Pennsylvania Class

   Representative, brings his Penn. Wage and Hour Law claims, individually and on

   behalf of the Pennsylvania Class.

         71.    The persons in the Pennsylvania Class identified above are so numerous

   that joinder of all members is impracticable. Although the Pennsylvania Class

   Representative does not know the precise number of such persons, the facts on which

   the calculation of that number can be based are presently within the sole control of the

   Defendants and ascertainable. Upon information and belief, there are at least 100

   members of the Pennsylvania Class.

         72.    Defendants have acted or refused to act on grounds generally applicable

   to the Pennsylvania Class, thereby making appropriate final injunctive relief or

   corresponding declaratory relief with respect to the Pennsylvania Class as a whole.

         73.    There are questions of law and fact common to the Pennsylvania Class

   that predominate over any questions solely affecting individual members of the

   Pennsylvania Class, including but not limited to:


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            a. whether Defendants have failed and/or refused to pay the Pennsylvania

            Class Representative and the Pennsylvania Class overtime pay for the hours

            worked in excess of 40 hours per workweek within the meaning of the Penn.

            Wage and Hour Law;

            b. the nature and extent of the class-wide injury and the appropriate

            measure of damages for the Pennsylvania Class;

            c. whether Defendants had a uniform policy and practice of failing to

            accurately track or record actual hours worked by the members of the

            Pennsylvania Class;

            d. whether Defendants furthered their uniform policy and practice of failing

            to accurately track or record actual hours worked by the members of the

            Pennsylvania Class by instructing them: (i) not to track all hours they worked

            but instead to record only their scheduled hours; (ii) not to record overtime

            hours worked; (iii) failing to provide the members of the Pennsylvania Class

            with a method to accurately record the hours they actually worked; and (iv)

            requiring the Pennsylvania Class members to under-state the number of

            hours they actually worked;

            f. whether Defendants’ policy and practice of failing to accurately track or

            record hours worked by the members of the Pennsylvania Class was willful;

            g. whether Defendants can prove that their unlawful policies were

            implemented in good faith.




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         74.    The claims of the Pennsylvania Class Representative are typical of the

   claims of the Pennsylvania Class he seeks to represent. The Pennsylvania Class

   Representative and the other Pennsylvania Class members work or have worked for

   Defendants and have been subjected to their policy, pattern or practice of failing to pay

   overtime wages for hours worked in excess of 40 hours per week. Defendants acted

   and refused to act on grounds generally applicable to the Pennsylvania Class, thereby

   making declaratory relief with respect to the Pennsylvania Class appropriate.

         75.    The Pennsylvania Class Representative will fairly and adequately

   represent and protect the interests of the Pennsylvania Class.

         76.    The Pennsylvania Class Representative has retained counsel competent

   and experienced in complex class action and wage and hour litigation.

         77.    A class action is superior to other available methods for the fair and

   efficient adjudication of the Penn. Wage and Hour Law claims, where individual

   plaintiffs may lack the financial resources to vigorously prosecute a lawsuit in federal

   court against a corporate defendant.

         78.    The members of the Pennsylvania Class have been damaged and are

   entitled to recovery because of Defendants’ common and uniform policies, practices

   and procedures. Although the relative damages suffered by individual Pennsylvania

   Class members are not de minimus, such damages are small compared to the expense

   and burden of bringing individual cases.




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          79.        Class treatment of the Pennsylvania Class claims is superior because it

   will obviate the need for duplicative litigation that may result in inconsistent judgments

   about Defendants’ practices.

   THE ILLINOIS CLASS

          80.        Pursuant to Fed. R. Civ. P. 23, Mr. Malter, as the Illinois Class

   Representative, brings his Ill. Wage and Hour Law claims, individually and on behalf of

   the Illinois Class.

          81.        The persons in the Illinois Class identified above are so numerous that

   joinder of all members is impracticable. Although the Illinois Class Representative does

   not know the precise number of such persons, the facts on which the calculation of that

   number can be based are presently within the sole control of the Defendants and

   ascertainable. Upon information and belief, there are at least 100 members of the

   Illinois Class.

          82.        Defendants have acted or refused to act on grounds generally applicable

   to the Illinois Class, thereby making appropriate final injunctive relief or corresponding

   declaratory relief with respect to the Illinois Class as a whole.

          83.        There are questions of law and fact common to the Illinois Class that

   predominate over any questions solely affecting individual members of the Illinois

   Class, including but not limited to:

                     a.     whether Defendants have failed and/or refused to pay the Illinois

                     Class Representative and the Illinois Class overtime pay for the hours




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                worked in excess of 40 hours per workweek within the meaning of the Ill.

                Wage and Hour Law;

                b.     the nature and extent of the class-wide injury and the appropriate

                measure of damages for the Illinois Class;

                c.     whether Defendants had a uniform policy and practice of failing to

                accurately track or record actual hours worked by the members of the

                Illinois Class;

                d.     whether Defendants furthered their uniform policy and practice of

                failing to accurately track or record actual hours worked by the members

                of the Illinois Class by instructing them: (i) not to track all hours they

                worked but instead to record only their scheduled hours; (ii) not to record

                overtime hours worked; (iii) failing to provide the members of the

                Illinois Class with a method to accurately record the hours they actually

                worked; and (iv) requiring the Illinois Class members to under-state the

                number of hours they actually worked;

                f.     whether Defendants’ policy and practice of failing to accurately

                track or record hours worked by the members of the Illinois Class was

                willful;

                g.     whether Defendants can prove that their unlawful policies were

                implemented in good faith.

         84.    The claims of the Illinois Class Representative are typical of the claims of

   the Illinois Class sought to be represented. The Illinois Class Representative and the


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   other Illinois Class members work or have worked for Defendants and have been

   subjected to their policy, pattern or practice of failing to pay overtime wages for hours

   worked in excess of 40 hours per week. Defendants acted and refused to act on

   grounds generally applicable to the Illinois Class, thereby making declaratory relief

   with respect to the Illinois Class appropriate.

          85.    The Illinois Class Representative will fairly and adequately represent and

   protect the interests of the Illinois Class.

          86.    The Illinois Class Representative has retained counsel competent and

   experienced in complex class action and wage and hour litigation.

          87.    A class action is superior to other available methods for the fair and

   efficient adjudication of the Ill. Wage and Hour Law claims, where individual plaintiffs

   may lack the financial resources to vigorously prosecute a lawsuit in federal court

   against a corporate defendant.

          88.    The members of the Illinois Class have been damaged and are entitled to

   recovery because of Defendants’ common and uniform policies, practices and

   procedures. Although the relative damages suffered by individual Illinois Class

   members are not de minimus, such damages are small compared to the expense and

   burden of bringing individual cases.

          89.    Class treatment of the Illinois Class claims is superior because it will

   obviate the need for duplicative litigation that may result in inconsistent judgments

   about Defendants’ practices.




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   THE NEW YORK CLASS

            90.   Pursuant to Fed. R. Civ. P. 23, Mr. Schwartz, as the New York Class

   Representative brings his NYLL claims, individually and on behalf of the New York

   Class.

            91.   The persons in the New York Class identified above are so numerous that

   joinder of all members is impracticable. Although the New York Class Representative

   does not know the precise number of such persons, the facts on which the calculation of

   that number can be based are presently within the sole control of the Defendants and

   ascertainable. Upon information and belief, there are at least 100 members of the New

   York Class.

            92.   Defendants have acted or refused to act on grounds generally applicable

   to the New York Class, thereby making appropriate final injunctive relief or

   corresponding declaratory relief with respect to the New York Class as a whole.

            93.   There are questions of law and fact common to the New York Class that

   predominate over any questions solely affecting individual members of the New York

   Class, including but not limited to:

                  a.    whether Defendants have failed and/or refused to pay the New

                  York Class Representative and the New York Class overtime pay for the

                  hours worked in excess of 40 hours per workweek within the meaning of

                  the NYLL;

                  b.    whether Defendants willfully failed to comply with the notice and

                  record keeping requirements of the NYLL;


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                 c.     the nature and extent of the class-wide injury and the appropriate

                 measure of damages for the New York Class;

                 d.     whether Defendants had a uniform policy and practice of failing to

                 accurately track or record actual hours worked by the members of the

                 New York Class;

                 e.     whether Defendants furthered their uniform policy and practice of

                 failing to accurately track or record actual hours worked by the members

                 of the New York Class by instructing them: (i) not to track all hours they

                 worked but instead to record only their scheduled hours; (ii) not to record

                 overtime hours worked; (iii) failing to provide the members of the New

                 York Class with a method to accurately record the hours they actually

                 worked; and (iv) requiring the New York Class members to under-state

                 the number of hours they actually worked;

                 f.     whether Defendants’ policy and practice of failing to accurately

                 track or record hours worked by the members of the New York Class was

                 willful;

                 g.     whether Defendants can prove that their unlawful policies were

                 implemented in good faith.

          94.    The claims of the New York Class Representative are typical of the claims

   of the New York Class sought to be represented. The New York Class Representative

   and the other New York Class members work or have worked for Defendants and have

   been subjected to their policy, pattern or practice of failing to pay overtime wages for


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   hours worked in excess of 40 hours per week. Defendants acted and refused to act on

   grounds generally applicable to the New York Class, thereby making declaratory relief

   with respect to the New York Class appropriate.

         95.    The New York Class Representative will fairly and adequately represent

   and protect the interests of the New York Class.

         96.    The New York Class Representative has retained counsel competent and

   experienced in complex class action and wage and hour litigation.

         97.    A class action is superior to other available methods for the fair and

   efficient adjudication of the NYLL claims, where individual plaintiffs may lack the

   financial resources to vigorously prosecute a lawsuit in federal court against a corporate

   defendant.

         98.    The members of the New York Class have been damaged and are entitled

   to recovery because of Defendants’ common and uniform policies, practices and

   procedures. Although the relative damages suffered by individual New York Class

   Members are not de minimus, such damages are small compared to the expense and

   burden of bringing individual cases.

         99.    Class treatment of the New York Class claims is superior because it will

   obviate the need for duplicative litigation that may result in inconsistent judgments

   about Defendants’ practices.




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                                 FIRST CAUSE OF ACTION
                     Fair Labor Standards Act: Unpaid Overtime Wages
                Brought on Behalf of Plaintiffs and Collective Action Members
                                   Against All Defendants

         100.    Plaintiffs reallege and incorporate by reference the allegations in

   paragraphs 1 through 59 above.

         101.    Morgan Stanley has engaged in a widespread policy, pattern or practice of

   violating the FLSA in regard to Plaintiffs and the Collective Action Members, as

   detailed in this Complaint.

         102.    At all relevant times, Plaintiffs and the Collective Action Members were

   engaged in commerce and/or the production of goods for commerce within the

   meaning of 29 U.S.C. §§ 206(a) and 207(a).

         103.    The overtime wage provisions set forth in §§ 201 et seq. of the FLSA apply

   to Morgan Stanley.

         104.    Morgan Stanley is an employer of Plaintiffs and the Collective Action

   Members and is engaged in commerce and/or the production of goods for commerce

   within the meaning of 29 U.S.C. §§ 206(a) and 207(a).

         105.    At all relevant times, Plaintiffs and the Collective Action Members were

   employees within the meaning of 29 U.S.C. §§ 203(e) and 207(a).

         106.    Morgan Stanley has failed to pay Plaintiffs and the Collective Action

   Members overtime wages to which they were entitled under the FLSA.

         107.    Morgan Stanley has failed to keep accurate records of time worked by

   Plaintiffs and the Collective Action Members.




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          108.   Morgan Stanley’s violations of the FLSA, as described in this Second

   Amended Complaint, have been, and continue to be, willful and intentional.

          109.   Morgan Stanley did not make a good faith effort to comply with the FLSA

   with respect to its timekeeping and compensation of Plaintiffs and the Collective Action

   Members.

          110.   Because Morgan Stanley’s violations of the FLSA have been willful, a

   three-year statute of limitations applies, pursuant to 29 U.S.C. § 255, as it may be further

   extended or tolled by agreement, equity or operation of law.

          111.   As a result of Morgan Stanley’s willful violations of the FLSA, Plaintiffs

   and the Collective Action Members have suffered damages by being denied overtime

   wages in accordance with the FLSA, in amounts to be determined at trial, and are

   entitled to recovery of such amounts, liquidated damages, prejudgment interest,

   attorneys’ fees, costs and expenses pursuant to 29 U.S.C. § 216(b).

                                SECOND CAUSE OF ACTION
                           N.J. Wage and Hour Law: Unpaid Wages
          On behalf of the New Jersey Class Representative and the New Jersey Class
                                   Against All Defendants

          112.   The New Jersey Class Representative realleges and incorporates by

   reference all allegations in paragraphs 1 through 99 above

          113.   Defendants engaged in a widespread policy, pattern or practice of

   violating the N.J. Wage and Hour Law, as described in this complaint.

          114.   Defendants’ violations of the N.J. Wage and Hour Law, as described in

   this complaint, have been willful and intentional.




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         115.    At all times relevant, the New Jersey Class Representative and the

   members of the New Jersey Class were employees and Defendants were employers

   within the meaning of N.J. Wage and Hour Law.

         116.   Defendants employed the New Jersey Class Representative and the

   members of the New Jersey Class in New Jersey within the meaning of the term

   “employ[s]” in the N.J. Wage and Hour Law.

         117.   The New Jersey Class Representative and the members of the New Jersey

   Class are “person[s]” within the meaning of in the N.J. Wage and Hour Law.

         118.   The members of the New Jersey Class are similarly situated because they

   all perform or performed the same primary duties, responsibilities and activities, and all

   are subject to Defendants’ common policy and practice, implemented throughout the

   New Jersey, of failing to credit and pay them overtime compensation in violation of the

   N.J. Wage and Hour Law.

         119.   Each of the Defendants employed the New Jersey Class Representative

   and the members of the New Jersey Class as an employer or a joint employer, all as

   further alleged herein.

         120.   The New Jersey Class Representative and the members of the New Jersey

   Class were persons suffered or permitted to work by Defendants, all as further alleged

   herein.

         121.   At all materials times, the New Jersey Class Representative and the New

   Jersey Class members are not and have not been independent contractors or

   subcontractors.


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          122.   The overtime wage provisions of Chapter 11, Article 2 of the N.J. Wage

   and Hour Law, N.J.S.A. §§ 34:11-56a et seq. and its supporting regulations, N.J. Admin.

   Code §§ 12:56-1.1 et seq., apply to Defendants and protect the New Jersey Class

   Representative and the New Jersey Class members.

          123.   Defendants failed to pay the New Jersey Class Representative and the

   other members of the New Jersey Class the overtime wages to which they are entitled

   under Chapter 11, Article 2 of the N.J. Wage and Hour Law, N.J.S.A. §§ 34:11-56a et seq.

          124.   Defendants failed to keep, make, preserve, maintain, and furnish accurate

   records of time worked by the New Jersey Class Representative and the members of the

   New Jersey Class and failed to furnish to each of them their wage and hour records

   showing all wages earned and due for all work performed for labor or services

   rendered.

          125.   By Defendants’ knowing or intentional failure to pay the New Jersey Class

   Representative and the members of the New Jersey Class overtime wages for hours

   worked in excess of 40 hours per week, it has willfully violated Chapter 11, Article 2 of

   the N.J. Wage and Hour Law, N.J.S.A. §§ 34:11-56a et seq.

          126.   Due to Defendants’ violations of Chapter 11, Article 2 of the N.J. Wage

   and Hour Law, N.J.S.A. §§ 34:11-56a et seq., the New Jersey Class Representative and the

   New Jersey Class members are entitled recover from Defendants, jointly and severally,

   the relief requested herein.




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                              THIRD CAUSE OF ACTION
                        Penn. Wage and Hour Law: Unpaid Wages
      On behalf of the Pennsylvania Class Representative and the Pennsylvania Class
                                 Against All Defendants

         127.   The Pennsylvania Class Representative realleges and incorporates by

   reference all allegations in paragraphs 1 through 99 above

         128.   Defendants engaged in a widespread policy, pattern or practice of

   violating the Penn. Wage and Hour Law, as described in this complaint.

         129.   Defendants’ violations of the Penn. Wage and Hour Law, as described in

   this complaint, have been willful and intentional.

         130.   At all times relevant, the Pennsylvania Class Representative and the

   members of the Pennsylvania Class were employees, and Defendants were employers

   within the meaning of Penn. Wage and Hour Law.

         131.   Defendants employed the Pennsylvania Class Representative and the

   members of the Pennsylvania Class in Pennsylvania within the meaning of the term

   employ in the Penn. Wage and Hour Law.

         132.   The members of the Pennsylvania Class are similarly situated because

   they all perform or performed the same primary duties, responsibilities and activities,

   and all are subject to Defendants’ common policy and practice, implemented

   throughout the Pennsylvania, of failing to credit and pay them overtime compensation

   in violation of the Penn. Wage and Hour Law.




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         133.   Each of the Defendants employed the Pennsylvania Class Representative

   and the members of the Pennsylvania Class as an employer or a joint employer, all as

   further alleged herein.

         134.   The Pennsylvania Class Representative and the members of the

   Pennsylvania Class were persons suffered or permitted to work by Defendants, all as

   further alleged herein.

         135.   At all materials times, the Pennsylvania Class Representative and the

   Pennsylvania Class members are not and have not been independent contractors or

   subcontractors.

         136.   The Penn. Wage and Hour Law entitles employees to receive overtime

   premium compensation “not less than one and one-half times” the employee’s regular

   pay rate for hours worked over 40 per week. 43 P.S. § 333.104(c).

         137.   Defendants failed to pay the Pennsylvania Class Representative and the

   members of the Pennsylvania Class the overtime wages to which they are entitled

   under the Penn. Wage and Hour Law, 43 P.S. § 333.104(c).

         138.   Defendants failed to pay the Pennsylvania Class Representative and

   Pennsylvania Class all overtime wages to which they are entitled.

         139.   By Defendants’ knowing or intentional failure to pay the Pennsylvania

   Class Representative and the members of the Pennsylvania Class overtime wages for

   hours worked in excess of 40 hours per week, they have willfully violated the Penn.

   Wage and Hour Law.




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           140.   Due to Defendants’ violations of Penn. Wage and Hour Law, the

   Pennsylvania Class Representative and the Pennsylvania Class members are entitled

   recover from Defendants, jointly and severally, the relief requested herein.

                                FOURTH CAUSE OF ACTION
                          Ill. Wage and Hour Law: Unpaid Wages
             On behalf of the Illinois Class Representative and the Illinois Class
                                   Against All Defendants

           141. The Illinois Class Representative realleges and incorporates herein each

   and every allegation in the preceding paragraph numbers 1 to 99 above.

           142. The Illinois Class Representative brings this claim pursuant to the Ill.

   Wage and Hour Law.

           143. The Ill. Wage and Hour Law provides that employers who fail to pay the

   overtime wages it requires shall be liable in a civil action brought by an aggrieved

   employee.

           144. The Ill. Wage and Hour Law, 820 ILCS 105/4a(1), provides in relevant

   part:

           [N]o employer shall employ any of his employees for a workweek
           of more than 40 hours unless such employee receives compensation
           for his employment in excess if the hours specified at a rate not less
           than 1 ½ times the regular rate at which he is employed…

           145. The Ill. Wage and Hour Law, 820 ILCS 105/12(a), provides in relevant

   part:

           If any employee is paid by his employer less than the wage to
           which he is entitled under the provisions of this Act, the employee
           may recover in a civil action the amount of any such underpayment
           together with costs and such reasonable attorney’s fees as may be


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          allowed by the Court, and damages of 2% of the amount of any
          such underpayments for each month following the date of payment
          during which such underpayments remain unpaid…

           146. The Ill. Wage and Hour Law, 820 ILCS 105/3(b) defines wages as

   “compensation due to an employee by reason of his employment…” All such wages are

   subject to Illinois’ overtime requirements, including those set forth above.


          147.   During the Illinois Class Period, Defendants violated the Ill. Wage and

   Hour Law, by failing to pay the Illinois Class Representative and members of the

   Illinois Class time and one-half their regular rate of pay for all hours worked in excess

   of 40 during each workweek.


          148. The members of the Illinois Class are similarly situated because they all

   perform or performed the same primary duties, responsibilities and activities, and all

   are subject to Defendants’ common policy and practice, implemented throughout the

   State of Illinois, of failing to credit and them overtime compensation properly, all in

   violation of the Ill. Wage and Hour Law.

          149. The primary duties, responsibilities and activities of the Illinois Class

   members were essentially the same as the primary duties, responsibilities, and activities

   of the Illinois Class Representative.

          150. The Illinois Class members were paid in the same manner and were subject

   to the same, standard employment procedures and practices as the Illinois Class

   Representative.




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          151. The Illinois Class Representative and the Illinois Class members were all

   subject to Defendants’ common policy and practice of failing to credit and pay them

   properly for all hours worked in excess of 40 during each workweek at one and one-half

   times their regular rate(s) of pay, all in violation of the Ill. Wage and Hour Law. It is,

   and has been, Defendants’ uniform policy and procedure to neither credit nor pay

   overtime compensation properly, nor to pay overtime wages to the Illinois Class

   Representative and the members of the Illinois Class.

          152. Defendants failed to keep, make, preserve, maintain and furnish accurate

   records of time worked by the Illinois Class Representative and the Illinois Class

   members.

          153. Defendants’ violations of the Ill. Wage and Hour Law were repeated,

   willful and intentional.

          154. The Illinois Class Representative and the Illinois Class members have been

   damaged by the above-described violations of the Ill. Wage and Hour Law.

          155. Due to Defendants’ violations of the Ill. Wage and Hour Law, the Illinois

   Class Representative and the other members of the Illinois Class are entitled to recover

   from Defendants, jointly or severally, the relief requested herein.

                              FIFTH CAUSE OF ACTION
                                 NYLL: Unpaid Wages
         On behalf of the New York Class Representative and the New York Class
                                Against All Defendants

          156.   The New York Class Representative realleges and incorporates herein

   each and every allegation in the preceding paragraph numbers 1 to 99 above.




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             157. Defendants have engaged in a widespread policy, pattern or practice of

   violating the NYLL, as detailed in this Second Amended Complaint.

             158. At all times relevant, the New York Class Representative and the other

   members of the New York Class have been employees and Defendants have been

   employers within the meaning of the NYLL. The New York Class Representative and

   the members of the New York Class are covered by the NYLL.

             159. The members of the New York Class are similarly situated because they

   all perform or performed the same primary duties, responsibilities and activities, and all

   are subject to Defendants’ common policy and practice, implemented throughout the

   State of New York, of failing to credit and pay them proper overtime compensation, in

   violation of the NYLL.

             160. Each Defendant employed the New York Class Representative and the

   members of the New York Class as an employer or a joint employer, as further alleged

   herein.

             161. Defendants failed to pay the New York Class Representative and the other

    members of the New York Class wages to which they are entitled under NYLL Article

    19, §§ 650 et seq., and the supporting New York State Department of Labor Regulations,

    including but not limited to the regulations in 12 N.Y.C.R.R. Part 142. Defendants

    failed to pay the New York Class Representative and the members of the New York

    Class for overtime at a wage rate of one and one-half times their regular rate of pay in

    weeks they worked more than 40 hours.




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          162. Defendants failed to keep, make, preserve, maintain, and furnish accurate

    records of time worked by the New York Class Representative and the New York Class

    members.

          163. Defendants’ violations of the NYLL, as described in this Second Amended

     Complaint, have been willful and intentional.

          164. Due to Defendants’ violations of the NYLL, the New York Class

   Representative and the members of the New York Class are entitled to recover from

   Defendants, jointly or severally, the relief requested herein.

                                     PRAYER FOR RELIEF

          WHEREFORE, Plaintiffs, individually and on behalf of all other similarly

   situated FLSA Collective Action Members, pray for the following relief:

          A.    Final certification of the collective consisting of Plaintiffs and all Collective

   Action Members

          B.    Unpaid wages and liquidated damages in the maximum amount allowed

   by 29 U.S.C. §§ 201 et seq. and the supporting United States Department of Labor

   regulations and the employer’s share of FICA, FUTA, state unemployment insurance

   and any other required employment taxes;

          C.    Pre-judgment interest;

          D.    Attorneys’ fees and costs of the action, including expert fees; and

          E.    Such other relief as this Court deems just and proper.

          WHEREFORE, the New Jersey Class Representative, Pennsylvania Class

   Representative, Illinois Class Representative and New York Class Representative,


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   individually and on behalf of all members of the New Jersey Class, Pennsylvania Class,

   Illinois Class and New York Class , pray for the following relief:

            A.    Certification of the state law claims in this action as class actions;

            B.    Designation of Janine Natoli as the Class Representative of the New Jersey

   Class, designation of Stefan Michael Bernarsky as the Class Representative of the

   Pennsylvania Class, designation of Mark Malter as the Class Representative of the

   Illinois Class, and designation of Adam Schwartz as the Class Representative of the

   New York Class;

            C.    A declaratory judgment that the practices complained of herein are

   unlawful under the N.J. Wage and Hour Law, the Penn. Wage and Hour Law, the Ill.

   Wage and Hour Law, and the NYLL;

            D.    Appropriate equitable and injunctive relief to remedy Defendants’

   violations of the N.J. Wage and Hour Law, the Penn. Wage and Hour Law, the Ill. Wage

   and Hour Law, and the NYLL, including but not necessarily limited to an order

   enjoining Defendants from continuing their unlawful practices;

         E.      An award of damages (including but not limited to unpaid wages and

   unpaid overtime wages, as applicable), liquidated damages, appropriate statutory

   penalties, the employer’s share of FICA, FUTA, state unemployment insurance and any

   other required employment taxes and restitution to be paid by Defendants according to

   proof;

         F.      Pre-Judgment interest;

         G.      Attorneys’ fees and costs of this action, including expert fees; and


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         H.   Such other relief as this Court deems just and proper.

                                DEMAND FOR TRIAL BY JURY

         Pursuant to Rule 38(b) of the Federal Rules of Civil Procedure, Plaintiffs demand

   a trial by jury on all questions of fact raised by this Second Amended Complaint.


   Dated: August 4, 2013                       Respectfully submitted,
         Boca Raton, Florida
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                                               Classes




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                                    CERTIFICATE OF SERVICE

           I HEREBY CERTIFY that I electronically filed the foregoing document with the Clerk of
   Court using CM/ECF on August 4, 2014. I also certify that the foregoing document is being
   served this day on all counsel of record or pro se parties identified on the attached Service List in
   the manner specified, either via transmission of Notices of Electronic Filing generated by
   CM/ECF or in some other authorized manner for those counsel or parties who are not authorized
   to receive electronically Notices of Filing.

                                                 /s/SUSAN H. STERN
                                                 Susan H. Stern, Esq.

                                          SERVICE LIST
                               DeVries v. Morgan Stanley & Co, LLC
                                 CASE NO.: 9:12-cv-81223-KAM
                  United States District Court for the Southern District of Florida

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